Case 2:05-cr-20157-.]PI\/| Document 6 Filed 06/24/05 Page 1 of 2 Page|D 9

IN THE UNITED STATES DISTRICT coURT
FOR THE wESTERN DISTRICT oF TENNESSEE §§J;F{é£;§
wESTERN DIVISION

 

UNI'I'ED S'I`A'I'ES OF AMERICA
Plaj_ntiff,

Criminal No. £» 20/57 Ml

mule/_ c/»/ENE\/

(6 0 -Day Continuance)

 

 

Defendant(s).

 

REPORT ON FUGITIVE STATUS lAND RESETTING

 

As indicated by the signature of counsel for the United
States, through its Assistant United States Attorney, this case
remains an active case and there are continuing efforts to locate
the above~referenced fugitive defendant(s). A follow-up report
on efforts to bring the above-referenced fugitive defendant(s)
before the Court will be made on Fridav. Auqust 26. 2005, at
10:30 a.m.

50 oRDERED this 24‘=h day of June, 2005.

ova

PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

 

  

 

XSs'istant Unitegn§§§g@§ea§dkomuyln m l 052

Tmsdocumen
with Ru|e 55 andlor 32(\:) FHCrP on

   

UNITED S`AS,TE DRISTIC COURT - WESERT DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20157 Was distributed by faX, mail, or direct printing on
June 29, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

